   Case: 1:19-cv-06381 Document #: 370 Filed: 10/22/24 Page 1 of 3 PageID #:7287




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

SUN CHENYAN                               )
                                          )
      Plaintiff,                          )               Case No. 19-cv-6381
                                          )
      v.                                  )               Judge Manish S. Shah
                                          )
DAISY XIE DBA GARMENT OUTLETS             )               Mag. Judge Sheila M. Finnegan
AND TRENDYSHOW; JING ZHANG;               )
MING JIE GUO; XIAO JIE ZHONG;             )
VIVI FANG DBA FASHIONFORGIRLS,            )
QIAN NI TRADE AND BEAUTYFACTORY.          )
                                          )
      Defendants.                         )
_________________________________________ )

      PLAINTIFF SUN CHENYAN’S MOTION FOR CONDITIONAL JUDGMENT
                 AGAINST CONTEXTLOGIC INC. D/B/A WISH

        Plaintiff Sun Chenyan, (“Sun Chenyan” or “Plaintiff”) by and through her counsel, Ford

Banister LLC, hereby moves this Honorable Court to enter conditional judgment in favor of Sun

Chenyan and against ContextLogic Inc. d/b/a Wish in the amount of $110,000.00. In support of

her request, Plaintiff states as follows:

                          Relevant Background and Procedural History

1. On May 23, 2024 this Court entered Final Default Judgment in favor of Plaintiff Sun

    Chenyan and against Judgment-Debtors Jing Zhang, Ming Jie Guo, and Xiao Jie Zhong in

    the total sums of $40,000 against Jing Zhang, $40,000 against Ming Jie Guo, and $30,000

    against Xiao Jie.

2. There is now due, less credit and off-set, the total sums of $40,000 against Jing Zhang,

    $40,000 against Ming Jie Guo, and $30,000 against Xiao Jie. Further sums may become due

    as costs and interests accrue.
   Case: 1:19-cv-06381 Document #: 370 Filed: 10/22/24 Page 2 of 3 PageID #:7288




3. On June 24, 2024 this Court issued a Citation to Discover Assets to Third Party to

   ContextLogic Inc. d/b/a Wish (hereinafter “Citation to ContextLogic”) [Doc. 359, p. 3].

4. The Citation to ContextLogic and Notice of Third Party Citation to Discover Assets were

   served upon ContextLogic Inc. d/b/a Wish on June 24, 2024 and upon judgment debtors on

   July 1, 2024 [Doc. 359, p. 1].

5. The Citation to ContextLogic required ContextLogic Inc. d/b/a Wish to file its answer to the

   Citation or appear on July 23, 2024, at 2:00 p.m. at Ford Banister LLC., 111 W. Jackson,

   Suite 1700, Chicago, IL 60604 [Doc. 359, p. 3].

6. ContextLogic Inc. d/b/a Wish failed to file an answer to the Citation to ContextLogic and

   failed to appear on July 23, 2024, at 2:00 p.m. at Ford Banister LLC., 111 W. Jackson, Suite

   1700, Chicago, IL 60604.

7. ContextLogic Inc. d/b/a Wish has, to date, has failed to answer or otherwise respond to the

   Citation to ContextLogic.

                                            Legal Remedy

8. 735 ILCS 5/12-706(a) addresses conditional judgments as follows:

       “When any person summoned as garnishee fails to appear and answer as required by Part
       7 of Article XII of this Act, the court may enter a conditional judgment against the
       garnishee for the amount due upon the judgment against the judgment debtor. A
       summons to confirm the conditional judgment may issue against the garnishee, to be
       served and returned in the same manner as provided by Illinois Supreme Court Rule 105,
       otherwise than by publication, of a notice for additional relief upon a party in default,
       commanding the garnishee to show cause why the judgment should not be made final. If
       the garnishee, after being served with summons to confirm the conditional judgment or
       after being notified as provided in subsection (b) hereof, fails to appear and answer, the
       court shall confirm such judgment to the amount of the judgment against the judgment
       debtor and award costs. If the garnishee appears and answers, the same proceedings may
       be had as in other cases.”

9. In this case, ContextLogic Inc. d/b/a Wish has failed to appear and answer as required by

   statute.
     Case: 1:19-cv-06381 Document #: 370 Filed: 10/22/24 Page 3 of 3 PageID #:7289




10. 735 ILCS 5/12-706(a) provides that this Court may enter a conditional judgment against the

     garnishee for the amount due upon the judgment against the judgment debtors.

11. Plaintiff Sun Chenyan is due against Judgment-Debtors Jing Zhang, Ming Jie Guo, and Xiao

     Jie Zhong in the total sums of $40,000 against Jing Zhang, $40,000 against Ming Jie Guo,

     and $30,000 against Xiao Jie for a total of $110,000.00.

12. Conditional judgment should be entered against ContextLogic Inc. d/b/a Wish in the amount

     of $110,000.00 in favor of Plaintiff Sun Chenyan.

                                         Prayer for Relief

        Wherefore, Plaintiff respectfully requests that the Court grant the following relief:

a)      Entry of conditional judgment in favor of Plaintiff Sun Chenyan and against

        ContextLogic Inc. d/b/a Wish in the amount of $110,000.00.

b)      The Clerk of Court be directed to issue a summons to confirm the conditional judgment.

c)      ContextLogic Inc. d/b/a Wish be commanded to show cause why the judgment should not

        be made final.

Respectfully submitted this 22nd day of October, 2024,

                                              By:     /s/ Michael T. Stanley

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